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” Adv. ‘Number:

Plaintiff/Movant: Peconic k Really. Acc.

Counsel for the Plaintiff/Movant: ort Girvene ‘
Address: Gory Areene howd i fal Cott Abed bed

Foci abt, ar pue3e
Defendant/ Respondent’s name: Ri Chart (Ree

Counsel for Defendant/Respondent: Rithn ah LQ “Chy ‘
Address: Becket AQ ww, TO; S¥B PDSpect AVE | fteklterd Cr

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